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  8                          UNITED STATES DISTRICT COURT
  9                       SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                          Case No. 10CR3254-BTM
 12                                      Plaintiff,       ORDER DENYING DEFENDANTS’
             v.                                           MOTIONS TO SUPPRESS
 13                                                       WIRETAP EVIDENCE
       JUAN JOSE LARA-CANEDA (1),
 14    DAVID ALEXANDER FOSTER (7),
 15                                 Defendants.
 16
            On April 29, 2011, Defendant David Alexander Foster (“Foster”) filed a motion to
 17
      suppress wiretap evidence. On May 2, 2011, Defendant Juan Jose Lara-Caneda (“Lara-
 18
      Caneda”) filed a motion to join Foster’s motion to suppress wiretap evidence.          The
 19
      Government filed its opposition on May 9, 2011. Lara-Caneda filed another motion to
 20
      suppress wiretap evidence on November 28, 2011. For the reasons discussed below,
 21
      Defendants’ motions to suppress wiretap evidence are DENIED.
 22
 23
                                         I. BACKGROUND
 24
            The wiretap investigation in this case consisted of two separate periods of
 25
      interception under Misc. No. 09MC390-JTM. The first period began with the application
 26
      and order dated May 15, 2009, which resulted in the interception of two cellular
 27
      telephones, one subscribed to by Francisco Caneda (“Target Telephone #1"), and
 28
      another subscribed to by Robert Turner (“Target Telephone #2"). The second period

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  1   began with the application and order dated July 9, 2009, which resulted in the continued
  2   interception of Target Telephone #2, and the new interception of a cellular telephone
  3   subscribed to by Tammisha M. Jackson (“Target Telephone #3").
  4          There was another wiretap investigation in this case under Misc. No. 07MC239-
  5   BEN. This period of interception involved a cellular telephone subscribed to by Dana
  6   Byers (“Target Telephone #4").
  7
  8                                         II. DISCUSSION
  9   A. Standing
 10          Foster and Lara-Caneda assert that they have standing to challenge the wiretap
 11   evidence from Target Telephone #1, Target Telephone #2, and Target Telephone #3.
 12   Lara-Caneda also asserts that he has standing to challenge the wiretap evidence from
 13   Target Telephone #4.
 14          A defendant may move to suppress evidence obtained through electronic
 15   surveillance “only if his privacy was actually invaded; that is, if he was a participant in an
 16   intercepted conversation, or if such conversation occurred on his premises.” 18 U.S.C.
 17   §§ 2518(10)(a) and 2510(11); United States v. King, 478 F.2d 494, 506 (9th Cir. 1973)
 18   (citing Alderman v. United States, 394 U.S. 165, 176 (1969)).
 19          Lara-Caneda was a party to the intercepted conversations from Target Telephone
 20   #1 and Target Telephone #4. But Lara-Caneda was not a participant in any of the
 21   intercepted conversations from Target Telephone #2 or Target Telephone #3. Thus,
 22   Lara-Caneda only has standing to challenge the wiretap evidence from Target Telephone
 23   #1 and Target Telephone #4.
 24          As for Foster, he only participated in the intercepted conversations from Target
 25   Telephone #2 and Target Telephone #3. Accordingly, Foster only has standing to
 26   challenge the wiretap evidence from those two telephones.
 27   //
 28   //


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  1   B. Necessity
  2          Foster and Lara-Caneda argue that the wiretap applications for the targeted
  3   telephones failed to meet the “necessity” requirement of 18 U.S.C. §§ 2518(1)(c) and
  4   2518(3)(c).
  5          An application for an order authorizing a wiretap must include “a full and complete
  6   statement as to whether or not other investigative procedures have been tried and failed
  7   or why they reasonably appear to be unlikely to succeed if tried or to be too dangerous.”
  8   18 U.S.C. § 2518(1)(c); see also 18 U.S.C. § 2518(3)(c). This showing of “necessity” is
  9   required before a district court can issue a wiretap order. United States v. Carneiro, 861
 10   F.2d 1171, 1176 (9th Cir. 1988). When reviewing necessity, a “common sense
 11   approach” is used to evaluate the reasonableness of the government’s good faith efforts
 12   and decision on whether or not to use traditional investigative tactics. United States v.
 13   Rivera, 527 F.3d 891, 902 (9th Cir. 2008). The government may establish necessity for a
 14   wiretap by showing that traditional investigative procedures (1) have been tried and
 15   failed; (2) reasonably appear unlikely to succeed if tried; or (3) are too dangerous to try.
 16   Id. at 903 n.3. A court reviews the issuing judge’s decision that the wiretaps were
 17   necessary for an abuse of discretion. Carneiro, 861 F.2d at 1176.
 18          Foster and Lara-Caneda contend that the Government failed to demonstrate
 19   necessity because it did not attempt enough traditional investigative techniques before
 20   applying for the wiretap authorizations. For example, undercover agents were not used
 21   before the May 15, 2009 wiretap application for Target Telephone #1 was submitted.
 22   Undercover agents, witness interviews, mail cover requests, search warrants and grand
 23   jury subpoenas were not used before the May 15, 2009 wiretap application for Target
 24   Telephone #2 was submitted. In addition, undercover agents, witness interviews,
 25   stationary surveillance and grand jury subpoenas were not used before the July 9, 2009
 26   wiretap application for Target Telephone #2 and Target Telephone #3. Finally,
 27   undercover agents, witness interviews, search warrants, trash searches and grand jury
 28   subpoenas were not used before the April 26, 2007 wiretap application for Target


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  1   Telephone #4 was submitted. But “law enforcement officials need not exhaust every
  2   conceivable alternative before obtaining a wiretap.” Id. (internal citations omitted). A
  3   careful review of each wiretap application indicates that a variety of traditional
  4   investigative methods were utilized, including confidential informants (for Target
  5   Telephones #1, #2, #3 and #4), administrative subpoenas (for Target Telephone #3),
  6   physical surveillance (for Target Telephones #1, #2, #3 and #4), stationary surveillance
  7   (for Target Telephones #1, #2, #3 and #4), tracking devices (for Target Telephone #4),
  8   and pen register and trap, trace and toll records (for Target Telephones #1, #2, #3 and
  9   #4). Other traditional investigative methods were also considered but not used, including
 10   undercover agents (for Target Telephones #1, #2, #3 and #4), search warrants (for
 11   Target Telephones #1, #2, #3 and #4), witness interviews (for Target Telephones #1, #2
 12   and #3), grand jury subpoenas (Target Telephone #3) and trash searches (for Target
 13   Telephone #4). The Government explains in detail in each of its wiretap affidavits that
 14   these unused investigative methods reasonably appeared unlikely to succeed if tried.
 15   See United States v. Gonzalez, Inc., 412 F.3d 1102, 1114 (9th Cir. 2005) (government
 16   could prove necessity if it reasonably attested that unused tools were unlikely to
 17   succeed). Although there may still have been other traditional investigative techniques
 18   that the Government could have used, this showing of the techniques that the
 19   Government did use and/or consider is sufficient to meet the “necessity” requirement.
 20          Foster and Lara-Caneda also argue that the Government failed to demonstrate
 21   necessity because its investigation had experienced repeated successes with the other
 22   traditional investigative methods. But the Government explains in each of its wiretap
 23   affidavits that despite some success due to the investigative methods that were utilized,
 24   there were also case-specific limitations that prevented them from accomplishing the
 25   goals of its investigation without the wiretap authorization. To show that other
 26   investigative methods have been “tried and failed,” the affidavit must reveal that normal
 27   investigative techniques, employed in a good faith effort, have failed to make the case
 28   within a reasonable period of time. United States v. Spagnuolo, 549 F.2d 705, 710 (9th


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  1   Cir. 1977). The Government provides sufficient detail about how the investigative
  2   methods were exhausted and how such methods reasonably appeared unlikely to
  3   succeed in accomplishing the goals of its investigation.
  4   C. Minimization
  5          Foster and Lara-Caneda question whether the Government employed sufficient
  6   measures to minimize the interception of conversations from Target Telephone #1,
  7   Target Telephone #2 and Target Telephone #3.
  8          Wiretapping must be conducted in such a way as to minimize the interception of
  9   communications not otherwise subject to interception. 18 U.S.C. § 2518(5). Minimization
 10   requires that the government adopt reasonable measures to reduce to a practical
 11   minimum the interception of conversations unrelated to the criminal activity under
 12   investigation while permitting the government to pursue legitimate investigation. Rivera,
 13   527 F.3d at 904 (quotation marks and citations omitted). The minimization techniques
 14   used do not need to be optimal, only reasonable. Id. Whether the government has
 15   conducted a wiretap in compliance with the statutory minimization requirement will
 16   depend on the facts and circumstances of each case. Id. The government has the
 17   burden to show proper minimization. Id. Because Foster and Lara-Caneda do not
 18   challenge the admission into evidence of any intercepted conversations on the ground
 19   that those conversations should have been minimized, the Court only examines whether
 20   the Government has shown a prima facie case of compliance with the minimization
 21   requirement. Id.
 22          The Government states that all monitoring agents were required to attend briefings
 23   prior to the initiation of each of the two 30-day periods of interceptions. At these
 24   briefings, the agents were instructed not to intercept private conversations that were non-
 25   criminal in nature and not to intercept privileged conversations. A guidance
 26   memorandum was prepared by Assistant United States Attorney Todd W. Robinson in
 27   connection with the May 15, 2009 wiretap of Target Telephone #1 and Target Telephone
 28   #2, and the July 9, 2009 wiretap of Target Telephone #2 and Target Telephone #3. For


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  1   each period of interception, all agents were required to read the corresponding guidance
  2   memorandum discussing minimization procedures, as well as the affidavits and court
  3   orders authorizing the interception of wire communications. A copy of the guidance
  4   memorandum was maintained in the monitoring room during each period of interception.
  5   The Government has also provided statistics from the Federal Bureau of Investigation’s
  6   database regarding the breakdown of all intercepted conversations, showing the number
  7   of completed calls intercepted, the number of pertinent calls, the number of calls that
  8   were less than two minutes in duration, and the number of calls that were minimized.
  9         The record submitted by the Government has demonstrated that it has complied
 10   with the minimization requirements as set forth in 18 U.S.C. § 2518(5) and there is no
 11   need for an evidentiary hearing on this issue.
 12
 13                                       III. CONCLUSION
 14         For the reasons discussed above, Defendants’ motions to suppress wiretap evidence
 15   are DENIED.
 16
 17   IT IS SO ORDERED.
 18
 19   DATED: April 26, 2012
 20
                                                 BARRY TED MOSKOWITZ, Chief Judge
 21                                              United States District Court
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